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                   EXHIBIT A
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                        No. 1:21-cv-02900-CJN

       v.

HERRING NETWORKS, INC.,                               Judge Carl J. Nichols

                   Defendant.


               JOINT NOTICE OF UNRESOLVED DISCOVERY DISPUTES

       Pursuant to the Court’s May 5, 2023 Order, plaintiffs Smartmatic USA Corp., Smartmatic

International Holding B.V., and SGO Corporation Limited (together, “Plaintiffs” or

“Smartmatic”), and defendant Herring Networks, Inc. (“Herring” or “OANN”), through

undersigned counsel, hereby submit a Joint Notice to the Court summarizing their discovery

disputes and outlining each party’s position.

            Issues Related to Plaintiffs’ Discovery Requests that Remain Unresolved

Smartmatic-Drafted Introduction to Smartmatic’s Discovery Issues with OANN

       Since written discovery began in October 2022, Smartmatic has worked in good faith with

OANN to resolve discovery disputes and move the discovery process forward. Through the

process of meeting-and-conferring and exchanging correspondence, the parties resolved a number

of discovery disputes, but many remain unresolved. The unresolved issues raised by Smartmatic

in this submission include: (1) OANN’s failure to produce documents; (2) OANN’s failure to

disclose relevant witnesses; (3) OANN’s failure to produce financial records; and (4) OANN’s

failure to agree to a date certain for completion of document production. Smartmatic notes that

these are not the only unresolved issues concerning OANN’s discovery responses, and Smartmatic

reserves the right to seek relief regarding other issues not raised herein.
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Issue One: OANN’s Failure to Produce Documents

Smartmatic’s Position

       Smartmatic served its first set of Requests for production to OANN in October 2022. To

date, OANN has produced 97 documents in response. Most of the documents are articles about

Smartmatic that OANN’s counsel appear to have located in December 2022, well after the

defamatory reports were published.      OANN has missed two critical production deadlines,

including (1) an April 7 deadline for a rolling production and (2) April 28 for production of all

documents containing the term “Smartmatic.”

       OANN may offer two excuses for its failure to produce any meaningful document over the

last six months. One, OANN may claim that it did not agree to the April 28 deadline for production

of all documents containing the term “Smartmatic.” Smartmatic has correspondence with OANN

confirming the deadline. Two, OANN may claim that it did not make any productions because

the parties have not agreed on all search terms. But, Smartmatic has correspondence confirming

that the parties agreed on more than 100 searches, including the term “Smartmatic.” There is no

reason that OANN has not produced any documents hitting on the agreed-upon search terms.

       Smartmatic requests that the Court enter an order requiring OANN to produce all relevant

documents hitting on the agreed-upon search terms, including the term “Smartmatic,” within 14

days of this submission. Smartmatic and OANN agreed upon the search terms more than a month

ago.

Herring’s Response

       Herring has not missed any deadlines, and Herring has explained this issue to Plaintiffs

(which a complete set of the relevant correspondence would reveal if shared with the Court). The

parties haven’t even agreed on a complete set of search terms yet. Moreover, the relief requested




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by Plaintiffs (production within 14 days, i.e. May 19) deviates from Herring’s plan to produce by

May 24 by only five days.

          The parties exchanged initial written discovery responses on December 16, 2022. Since

then, Herring devoted its e-discovery resources to collecting and staging data while the parties

negotiated the scope of their discovery requests and search terms to run against their data sets. The

parties exchanged 35 letters and participated in seven meet and confer calls.

          To date, Herring has produced (1) all documents referenced in its Answer; (2) Herring’s

policies and procedures; and (3) transcripts and videos of the broadcasts at issue. Herring has not

yet produced electronic documents because the ESI Protocol [Dkt No. 50] provides that “the

parties agree to meet and confer over the use of search tools and methodologies, including the use

of search terms and TAR, before any particular tool or methodology is applied.” (Emphasis

added.)

          Despite the lack of agreement on a complete set of search terms, Herring, in response to

Plaintiffs’ recent suggestion, has run the incomplete set of 209 agreed searches on its data set and

is actively reviewing responsive documents (including ones that refer to “Smartmatic”) for

production by May 24. There is no cause for the Court to accelerate that timeline by five days.

Issue Two: OANN’s Failure to Disclose Relevant Witnesses

Smartmatic’s Position

          For months, Smartmatic has asked OANN to identify relevant witnesses and custodians.

Specifically, through interrogatories and parties’ correspondence, Smartmatic has asked OANN to

identify producers, editors, bookers, fact-checkers, directors, and managers involved with the

defamatory broadcasts at issue as well as OANN’s general operations that impact the defamatory

broadcasts. OANN has not identified any of these individuals, who are relevant witnesses and

custodians.


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       OANN’s pattern of concealing the identity of relevant witnesses and custodians started

from outset of discovery. In its Rule 26(a)(1) disclosures, OANN identified only five individuals

affiliated with OANN as being relevant witnesses, an impossible figure given that more than five

different programs are at issue in this case and each program necessarily has multiple people

involved in its production.

       Based on this insufficient answer, on October 21, 2022, Smartmatic issued interrogatories

to OANN seeking the identity of the individuals involved in the at-issue shows, including the

categories identified above. In response, OANN identified no individuals who were not already

referenced in Smartmatic’s complaint, e.g., on-air hosts who were apparent to anyone watching

the shows. Eventually, on April 25, OANN provided a supplemental response that identified one

additional individual.   To date, the only individuals OANN has identified in response to

Smartmatic’s interrogatories and requests for additional custodians, are on-air hosts, C-suite

executives, one accountant, and one videographer.

       Smartmatic requests that the Court enter an order requiring OANN, within 14 days of this

submission, to supplement their responses to Interrogatories 1, 2, 3 and 5 with a complete listing

of the individuals requested by those interrogatories.

Herring’s Response

       Ironically, Plaintiffs themselves are slow-playing disclosure of their own custodians,

having identified in this case 47 (21 of whom were just disclosed on March 28), compared to nearly

100 custodians disclosed by Plaintiffs in their related litigation against Newsmax. Herring doesn’t

understand why all custodians identified by Plaintiffs in the Newsmax case have not been

identified by Plaintiffs here, and that’s an issue Herring may need to seek Court relief on soon if

Plaintiffs continue to sandbag Herring on custodians.




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        In response to interrogatories, Herring has identified 20 custodians. Moreover, Herring

produced documents on March 3, 2023 that identified other individuals potentially affiliated with

the broadcasts at issue. This production complies with FRCP 33(d) and plainly rebuts Plaintiffs’

argument that Herring has failed to disclose potentially relevant witnesses. Moreover, Plaintiffs

have failed to suggest a single custodian that Herring has rejected. In contrast, Herring has

identified three custodians that Plaintiffs have refused to agree to (which Herring may need to seek

relief from the Court on in the near future if Plaintiffs don’t relent).

        Plaintiffs’ comments about Rule 26 disclosures similarly miss the mark.            Rule 26

disclosures are not a witness list; they list people upon whom the party may rely in the proceeding.

Moreover, Herring will diligently supplement its Rule 26 disclosures as discovery proceeds.

Finally, Herring is willing to consider any additional custodians the parties identify. No doubt

both sides will identify more custodians as search terms are finalized and related ESI is produced

and reviewed.

Issue Three: OANN’s Failure to Produce Financial Records (RFP Nos. 49 and 50)

Smartmatic’s Position

        More than six months ago, in October 2022, Smartmatic asked OANN to produce

documents relating to OANN’s financial condition, including documents that would show how

OANN financially benefited from the disinformation campaign at issue in the case. To date,

OANN has offered to produce only “communications concerning any relationship between

[OANN’s] financials and any Smartmatic entity or the alleged defamatory statements,” as well as

“any documents reflecting any revenue generated by the specific broadcasts containing the alleged

defamatory statements. . .”

        OANN’s proposal is too narrow. Smartmatic has alleged that OANN embraced the

disinformation campaign to expand its audience base, increase its advertising revenue, and make


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itself a more profitable enterprise. OANN’s financial records—before, during, and after the

disinformation campaign—is directly relevant to that motive. The before, during, and after picture

will show how OANN used the disinformation to increase and drive revenue, becoming unjustly

enriched at Smartmatic’s expense. Smartmatic needs a more wholesome picture of OANN’s

financials to develop this evidence and contextualize the spike in revenue that OANN obtained

because of the disinformation campaign. Evidence of motive, including financial motive, is

relevant to establishing actual malice.

       Smartmatic requests that the Court enter an order requiring OANN to produce documents

responsive RFPs 49 and 50, which request documents relating to OANN’s financial condition,

including but not limited to audited financials. There is no legitimate burden to producing these

readily available documents.

Herring’s Response

       Plaintiffs mischaracterize the discovery record. As Herring has made clear to Plaintiffs,

Herring is willing to produce: (i) documents concerning any relationship between Herring’s

financials and either Plaintiffs or the alleged defamatory statements; and (ii) documents reflecting

any revenue generated by the specific broadcasts containing the alleged defamatory statements.

But Plaintiffs rejected that proposal without good reason.

       As set forth above, the parties mutually exchanged discovery responses on December 16,

2022, pursuant to agreement. The parties did not engage in meet-and-confer efforts until January

25, 2023. Herring made its proposal regarding these document requests during the parties’ first

meet-and-confer conference on January 25 and memorialized the proposal in a letter on February

17. Plaintiffs have repeatedly rejected Herring’s proposal. Plaintiffs cannot persuasively contend

that Herring is to blame for Plaintiffs’ not raising this issue earlier with the Court.




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       Plaintiffs also cannot reasonably argue that wide-ranging discovery into Herring’s financial

condition is relevant to the issue of actual malice. To that end, Plaintiffs cannot rely on this Court’s

holding in US Dominion, Inc. v. Powell, 554 F. Supp. 3d 42, 64 (D.D.C. 2021). The Powell ruling

was related to a dispositive motion, not a discovery dispute, and the Court simply held that, while

relevant, financial motive alone cannot satisfy plaintiffs’ pleading burden as to actual malice.

Extensive financial discovery is premature at this stage of a defamation suit because this matter is

not ripe for damages-related discovery. Houlahan v. World Wide Assoc. of Specialty Programs

and Sch., 2006 WL 8433976, *9 (D.D.C. Oct. 27, 2006) (denying plaintiff’s motion to compel

documents relating to defendants’ financial records because the requests were “overly broad” and

“not relevant to Defendant’s knowledge regarding the truth or falsity of [the] alleged defamatory

statements”).

Issue Four: OANN’s Failure to Agree to a Date Certain for Completion of Document
Production

Plaintiffs’ Position

       On March 31, Smartmatic and OANN agreed on a schedule that would result in the

substantial completion of document production by May 19. Smartmatic can comply with that

deadline.

       OANN has indicated that it will not comply with the May 19 deadline. OANN’s failure to

comply with the deadline, notwithstanding having Smartmatic’s RFPs for over six months, and an

agreement among the parties on over 100 search terms for over a month, prejudices Smartmatic’s

ability to conduct depositions, complete fact discovery, and move this case forward.

       Smartmatic requests that the Court enter an order requiring OANN to substantially

complete its document production by May 31. Smartmatic further requests that the Court set




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interim deadlines by which the parties will complete negotiations over search terms and/or obtain

an order from the Court on those search terms.

Herring’s Response

        Plaintiffs again mischaracterize the discovery record. The parties agreed to exchange

initial discovery responses by December 16, 2022, and Herring did exactly that. Beginning in late

January, the parties engaged in substantial meet-and-confer efforts regarding the scope of

discovery and did not substantially finalize the dramatically narrowed substantive scope of

Plaintiffs’ requests until April.

        Moreover, the previously agreed-upon deadline for document production was not a

deadline to complete document production (after all, fact discovery under the original schedule

doesn’t even close until December); it was a deadline for a document production. And that agreed

deadline was contingent on the parties’ commitment to finalize mutual search terms by April 21,

2023 (which didn’t happen).

        This is Herring’s first broad collection and review of documents related to litigation

concerning media coverage of the 2020 U.S. presidential election.         Plaintiffs have a clear

advantage in potentially completing document production by May 31, having produced more than

5 million pages of documents in their related litigation against Newsmax. Notably, Plaintiffs have

not produced anywhere near that number of documents in this case, despite having agreed to do

so by April 7 (in fact, Plaintiffs have produced less than 300,000 pages of documents so far).

        Given that Plaintiffs say they can complete their document production by May 31, the

Court should order that they do so. In contrast, given that (1) fact discovery does not close until

December, (2) the parties have not agreed to a complete set of search terms, (3) the ESI Protocol

says a complete set is required before application, and (4) Herring is actively running, per

Plaintiffs’ recent suggestion, an incomplete set of agreed-to search terms (including “Smartmatic”)


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and reviewing those documents for production by May 24, an order requiring Herring’s document

production to be completed by May 31 would be draconian.

          Issues Related to Herring’s Discovery Requests that Remain Unresolved

Herring-Drafted Introduction to Herring’s Discovery Issues with Plaintiffs

       In addition to the issues expressly raised in this Joint Notice, Herring notes that additional

discovery disputes are ongoing and may be raised before the Court at a later date. Herring

continues to work with Plaintiffs in good faith to resolve these issues without the need to involve

the Court. However, Herring expressly reserves its right to move to compel on any issues not

raised herein, and it is not Herring’s intent to waive these additional discovery issues by electing

not to include them in this Joint Notice.

       The parties have met and conferred multiple times over the course of four months to

attempt to resolve existing discovery disputes and have resolved several disputes (subject to

reservation of rights). There are, however, disputes remaining with respect to Herring’s First

Requests for Production (“RFPs”) and Interrogatories (together, “Requests”). The remaining

disputes involve Requests related to or concerning the following seven issues: (1) governmental

investigations into Smartmatic entity business practices; (2) criticisms and reputational issues of

Smartmatic entities; (3) Plaintiffs’ lack of damages; (4) documents produced in, created for, or

arising out of the “Related Litigation” (e.g., Smartmatic USA Corp., et al. v. Fox News Network,

LLC, et al., Index No. 151136-2021 (New York County, New York); Smartmatic USA Corp., et

al. v. Newsmax Media, Inc., Case No. N21C-11-028 EMD (Del. Super. Ct.); Smartmatic USA

Corp., et al. v. Sidney Powell, Case No. 21-cv-02995 (D.D.C.); and Smartmatic USA Corp., et al.

v. Lindell, et al., Case No. 22-cv-00098 (D. Minn.); (5) documents related to Smartmatic entity

Board of Directors meetings; (6) vendors and other manufacturers that may possess relevant

information; and (7) documents received in response to subpoenas in this case.


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Issue One: Governmental Investigations into Smartmatic Entity Business Practices
(Herring’s RFPs 27, 28, 40, 41; Interrogatory 6)

Herring’s Position

       The Requests relate to investigations into Smartmatic entity business practices, domestic

and abroad, including investigations by the U.S. DOJ and the U.S. Treasury’s Committee on

Foreign Investment in the United States. Some investigations arise out of Smartmatic entity

involvement in the 2004 Venezuela and 2016 Philippines elections, while others relate to

Smartmatic entity corrupt business practices and international investments. Plaintiffs refuse to

produce responsive documents, claiming irrelevance and a non-binding discovery order from

another court in separate litigation because the investigations do not directly involve the 2020 U.S.

election.

       However, Plaintiffs’ allegations of defamation are not limited to the 2020 U.S. election.

Rather, the allegedly defamatory statements involve Smartmatic entity participation in foreign

elections and ties with foreign governments before and after the election. Plaintiffs’ Complaint

specifically refers to Herring’s reporting on “Smartmatic’s alleged ties to foreign governments,”

including Venezuela, as “another aspect to the disinformation campaign.” (Compl. ¶ 93.)

Herring’s defenses rely, in part, on the truth or substantial truth of the allegedly defamatory

statements and that Herring did not act with actual malice, which are appropriate subjects of

discovery. See Tavouloureas v. Piro, 93 F.R.D. 11, 22 (D.D.C. 1981) (granting defendant’s

motion to compel where information sought would bear on the truth or falsity of the allegedly

defamatory statements). The information requested also bears on Plaintiffs’ reputation, which is

relevant in a defamation case. See Camphausen v. Schweitzer, 2010 WL 4539452 at *3 (N.D. Ill.

Nov. 3, 2010) (granting defendant’s motion to compel discovery in defamation case concerning

plaintiff’s prior misconduct and reputation). Moreover, Plaintiffs’ counsel Erik Connolly claimed



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in an interview with CNN’s Don Lemon on April 21, 2023 that Plaintiffs’ alleged “damages are

on a global scale, not just limited to the United States.” Herring should be allowed to discover

information about Smartmatic entity “global” reputations.

Smartmatic’s Response

        Smartmatic’s Complaint is predicated on OANN’s false reporting that Smartmatic rigged

the 2020 Presidential election. Yet, OANN wants to probe “investigations” from years ago that

have nothing to do with that election and in which no allegation was made that Smartmatic

“rigged” an election.     Evidence concerning these “investigations” that are unrelated to the

misconduct alleged by OANN are neither admissible as proof of Smartmatic’s reputation nor to

mitigate Smartmatic’s damages, and it is not even discoverable. See, e.g., Crane v. N.Y. World

Telegram Corp., 308 N.Y. 470, 478 (1955) (“[T]he rule is clear that, while defendants may offer

proof of plaintiff’s bad general reputation prior to the publication, to reduce the value of the injured

interest, he may not plead or prove for that purpose ‘specific acts, or instances of plaintiff’s

misconduct’ having no connection with the charge of libel.”); see also 2 Law of Defamation § 9:60

(2d ed.) (“The common-law rule, is that […] a defamation suit places the plaintiff's reputation at

issue, but does not place the plaintiff's entire prior life’s record at issue, allowing the gratuitous

introduction of prior specific acts.”). Indeed, as Smartmatic previously informed OANN, the Court

in Smartmatic v. Fox Corp. et al. denied defendants’ motion to compel documents related to the

2016 Philippines elections, which OANN seeks here.

        Smartmatic has agreed to produce documents related to “investigations” that could possibly

have any bearing on claims or defenses in this case, including: (1) documents related to its

acquisition of Sequoia and CFIUS’s corresponding probe into Smartmatic’s alleged connections

to Venezuela; (2) communications with customers or potential customers in response to their




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inquiries about government investigation involving Smartmatic; and (3) documents in response to

broad, already agreed-upon search terms related to Smartmatic’s operations in Venezuela. OANN

is not entitled to any additional discovery.

Issue Two: Criticisms and Reputational Issues of Plaintiffs (Herring’s RFPs 15, 26, 100;
Interrogatory 9)

Herring’s Position

        Herring’s Requests relate to concerns raised about the reliability of Smartmatic entity

technology. A history of technological failures necessarily impacts Plaintiffs’ claims that the

allegedly defamatory statements caused reputational harm. Herring’s position is that Plaintiffs’

reputation before, and after, the 2020 U.S. election was independently damaged as a result of

public criticism of Smartmatic technology due to security vulnerabilities, glitches, tabulation

errors, or other shortfalls, and therefore, harm cannot be attributed to Herring’s statements.

        Herring has proposed narrowing these Requests to only documents that reflect legitimate

technological concerns that actually resulted in failures, repairs, errors, or investigations related to

same. Despite Herring’s proposal to narrow these Requests to reach a compromise in good faith,

Plaintiffs continue to object to these Requests.

        As an example of the unreasonable position Plaintiffs have taken, Plaintiffs have refused

to respond in any fashion to RFP 100, which seeks documents related to analyses of security issues

and/or vulnerabilities of Smartmatic entity technology performed by election security companies

such as MITRE (a not-for-profit organization focused on advising on topics of national security),

the National Election Security Laboratory, Professor Alex Halderman, and any state or federal

agency (such as the U.S. Cybersecurity and Infrastructure Security Agency (CISA)). This

information related to third-party assessments of the security risks of Smartmatic entity technology

is directly relevant to Plaintiffs’ claims, especially considering their own contentions in the



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Complaint that Plaintiffs purportedly have a spotless reputation as far as technology security is

concerned. (“Since 2003, Smartmatic’s election technology has processed more than 5 billion

secure votes worldwide without a single security breach.”) (Compl. ¶ 41)).

Smartmatic’s Response

       OANN mischaracterizes the nature of Smartmatic’s Complaint. OANN did not merely

report that Smartmatic’s technology had “vulnerabilities.”           Rather, OANN reported that

Smartmatic rigged the 2020 Presidential election. At issue is whether Smartmatic, in fact, rigged

the 2020 election, as OANN reported. If OANN also wants to offer proof that Smartmatic had a

poor reputation, it is limited to proof of prior instances in which Smartmatic rigged other elections.

See, e.g., Crane, 308 N.Y. at 478. OANN’s attempt to turn this case into a trial on whether a

hacker could have theoretically breached Smartmatic’s technology is a red herring.

       OANN’s position is also misplaced because Smartmatic has already agreed to produce

documents related to criticism and reputational issues. First, Smartmatic agreed to 10 broad search

terms that will result in the production of thousands of documents regarding Smartmatic’s

reputation, brand, and position in the market.        Second, Smartmatic has agreed to produce

documents it produced to customers who inquired as to government investigations. Third,

Smartmatic has agreed to produce documents relating to any security breach of Smartmatic

election technology, incidents in which an entity, government, or person made allegations of

election fraud or tampering by Smartmatic, criticisms of Smartmatic raised by media outlets,

negative feedback about Smartmatic’s election technology expressed by government officials,

media outlets, or cyber security experts, and certification, authentication, or validation of

Smartmatic’s    election    technology    by    the   Carter   Center,    SLI   Compliances,      and




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PriceWaterhouseCoopers. OANN’s additional requests relating to reputation and criticism are

overly broad and unduly burdensome, and its “proposed narrowing” is not sufficient.

Issue Three: Plaintiffs’ Lack of Damages (RFPs 11, 29, 30, 38, 76, 86)

Herring’s Position

       Herring’s Requests relate to whether Plaintiffs suffered damages as a result of Herring’s

alleged defamatory statements, or, rather, whether Plaintiffs’ purported drop in revenue or

enterprise value was a result of ongoing reputational issues unrelated to Herring’s actions.

Plaintiffs object on the grounds of overbreadth, irrelevance, or undue burden, arguing that these

documents involve international concerns only. However, Plaintiffs’ damages theory in this case

is exceedingly broad. In fact, lead counsel for Plaintiffs, Erik Connolly, has made several

statements in the press recently about the breadth of Plaintiffs’ damages theory. In his CNN

interview two weeks ago, he said Plaintiffs “are looking for recovery of the enterprise value loss.”

He further described the alleged damages as follows:

       Whenever you are measuring these types of damages, you have to look at it as the
       total opportunities that we lost. And the opportunities that we lost, and this is what
       we are experiencing day after day, is global. We are suffering these consequences
       in Asia, we are suffering these consequences in Africa, we are suffering these
       consequences in South America, and in Europe. So, when you take into
       consideration damages, you look at the overall damage done to us globally, and
       you look at how it impacted our enterprise value. . . . Smartmatic, before this
       disinformation, had a global reputation as being the election technology company
       that you go to. . . . Now, their reputation globally, is a company that has rigged
       elections. . . .

(Emphasis added.) It is hard to imagine a broader theory of damages than what Plaintiffs’ lead

counsel has outlined, and Herring is entitled to explore that in discovery. Herring must be allowed

to discover why Plaintiffs purportedly lost contracts in Venezuela and the Philippines and explore

any issues relating to other countries.

Smartmatic’s Response



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       This issue is premature. Smartmatic has already agreed to produce documents in response

to more than 85 broad search terms related to damages, which will result in the production of tens

of thousands of documents. First, Smartmatic has agreed to more than 35 broad search terms that

will identify documents relating to Smartmatic’s lost revenue, profits, and earnings, lost and

terminated contracts, canceled projects, financial forecasts, and more. And second, Smartmatic

has agreed to more than 50 broad search terms designed to identify every relevant document

relating to Smartmatic’s existing or potential customers.

       According to OANN, the fact that Smartmatic objects to RFP Nos. 11, 29, 30, 38, 76, and

86 means that Smartmatic is refusing to produce documents regarding damages. This is false for

the following reasons:

•   RPF Nos. 11 and 76 seek Smartmatic employees’ files. These requests are not related to
    damages.

•   RFP No. 29 seeks documents about Smartmatic’s contract with the Philippines. To the extent
    Smartmatic’s broad search terms about customer contracts hit on Smartmatic’s contracts with
    the Philippines, Smartmatic will produce them.

•   RFP No. 30 seeks documents related to the election in Kenya, which occurred in 2022, many
    months after OANN’s defamatory broadcasts. OANN has not articulated why documents
    relating to the Kenyan election are relevant to this case.

•   RFP No. 38 seeks documents regarding Smartmatic’s arbitration with Venezuela. Smartmatic
    initiated this arbitration and it has nothing to do with whether Smartmatic lost business in 2021
    after OANN’s disinformation campaign. Smartmatic also agreed to more than 15 broad search
    terms regarding Smartmatic’s business with Venezuela.

•   RFP No. 86 requests minutes from meetings of Smartmatic’s board of directors. As discussed
    below, Smartmatic has agreed to produce such documents from Smartmatic USA.

Issue Four: Related Litigation Documents (RFP 71)

Herring’s Position

       Herring requested that Plaintiffs produce discovery and hearing information, i.e. written

discovery requests and responses; subpoenas and responses; open records act requests and



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responses; deposition notices, transcripts, and videos; hearing transcripts; and similar material

from any Related Litigation with Smartmatic as a party. Herring seeks this information to avoid

duplication of efforts and to discover positions Plaintiffs have taken in Related Litigation that may

be contrary to positions Plaintiffs are taking here.

       Importantly, the scope of this Request is consistent with the type of information being

produced in Smartmatic USA Corp., et al. v. Fox News Network, LLC, et al., Index No. 151136-

2021 (New York County, New York). In fact, Plaintiffs are familiar with the New York court’s

April 17, 2023, Order to Show Cause why the Fox defendants should not be required to produce

deposition transcripts, exhibits, and errata sheets for all Fox Corporation witnesses in its litigation

with Dominion. The issue resolved when the parties stipulated that Fox would produce the

deposition transcripts, deposition exhibits, errata sheets and all responsive documents from several

Fox Corporation witnesses. Smartmatic USA Corp., et al. v. Fox News Network, LLC, et al., at

NYSCEF Doc. No. 1545 (April 26, 2023).

       Nevertheless, Plaintiffs object to a similar production here. After protracted negotiation,

Plaintiffs agreed to produce all documents they have produced in the Related Litigation. However,

Plaintiffs have not followed through, without reasonable explanation. Plaintiffs have produced

millions of pages of documents in their litigation with Newsmax, but have only produced 222,478

pages to date to Herring and have failed to provide a valid reason for their delay. Additionally,

Plaintiffs refuse to produce any Related Litigation deposition or hearing transcripts or subpoena

responses despite seeking an order to show cause forcing Fox to do precisely what Herring is

asking Plaintiffs to do here.

Smartmatic’s Response




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       OANN has manufactured a dispute that does not actually exist. From the outset of

discovery, Smartmatic agreed to produce the documents it produced to Newsmax and Fox, and at

no point in time have Smartmatic’s actions or representations indicated it would not follow through

on the agreement. Smartmatic produced documents from the “Related Litigation” on February 3,

March 3, and April 7.

       As detailed above, the parties agreed upon a schedule for the production of documents,

which required Smartmatic to make its next production on May 5. Smartmatic was both ready and

willing to produce additional documents from the “Related Litigation” on that date. OANN has

unilaterally pushed out the deadlines for its document production and demanded that Smartmatic

produce documents immediately.        To render this issue moot, Smartmatic will produce all

documents it produced in the “Related Litigation” by May 19.

       With regard to the production of deposition transcripts from the “Related Litigation,”

OANN mischaracterizes Smartmatic’s position. On February 22, in a letter to OANN, Smartmatic

told OANN it would “consider producing transcripts after the depositions have taken place.”

Smartmatic explained that depositions had not occurred in the “Related Litigation” (which is still

the case). In contrast to the relationship between Smartmatic’s and Dominion’s lawsuits against

Fox, there may be depositions in Smartmatic’s other lawsuits that are not relevant to Smartmatic’s

claims against OANN, and Smartmatic will assess relevancy once a deposition has occurred.

Smartmatic’s position on the production of deposition transcripts, exhibits, and errata sheets is

consistent across its cases—if they are relevant, they should be produced. The same holds true for

any hearing transcripts. There is nothing for the Court to rule on here.

Issue Five: Documents Related to Smartmatic Entity Board of Directors Meetings

Herring’s Position




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        RFP No. 86 requests all meeting minutes and other documents concerning meetings of any

Smartmatic entity Board of Directors. To address Plaintiffs’ overbreadth and relevance objections,

Herring offered to narrow its Request to meeting minutes, documents, or communications relating

to any Smartmatic entity Board meeting to the extent any security breaches or concerns, alleged

corruption or criminal activity, government investigations relating to concerns about security

breaches or alleged corruption or criminal activity, or Herring was discussed.

        Plaintiffs have agreed only to produce minutes of the Board of Directors of Smartmatic

USA Corp. But Plaintiffs have not agreed to produce Board minutes of any other Smartmatic

entity, and have objected to the remainder of the Request.

        Plaintiffs have no reasonable argument that the Request, as narrowed, is overly broad or

seeks irrelevant information. Herring is particularly interested in documents related to minutes of

Smartmatic entity Board of Directors meetings in which there were discussions about security

issues, technological failures, corruption, and government investigations, among other things.

These issues are highly relevant to Herring’s elemental challenges and defenses in this litigation,

including but not limited to truth, substantial truth, relative reputation of Plaintiffs before and after

the allegedly defamatory statements were published, and the absence of reputational damage

arising out of the allegedly defamatory statements. Plaintiffs should be ordered to produce the

requested documents consistently with Herring’s proposed narrowed Request.

Smartmatic’s Response

        Even with its proposed “offer[] to narrow,” OANN’s request is overly broad and far beyond

the scope of any claims or defenses in this matter. Smartmatic has repeatedly attempted to work

with OANN on this request and has already agreed to produce board meeting minutes from




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Smartmatic USA, the only Smartmatic entity directly involved in the 2020 Presidential election.

OANN will not back down from its unreasonable position.

        First, OANN has demanded board meeting minutes from all Smartmatic entities. Not only

would such a production be incredibly time-consuming for Smartmatic, it also would result in the

production of documents having nothing to do with elections at all, let alone the election at issue

in this lawsuit.

        Second, OANN refuses to narrow its request to board meeting minutes regarding

Smartmatic’s election technology. As Smartmatic has told OANN, many Smartmatic entities

produce technology unrelated to elections, and discussions of technological failures in those board

meetings would have nothing to do with elections at all, let alone the 2020 U.S. Presidential

election.

        Third, as discussed above, documents related to general “security issues” are irrelevant.

Moreover, topics such as “security issues,” “technological failures,” and “corruption” are far too

vague. Smartmatic is a technology company with hundreds of products. These terms could

address anything from issues with screen brightness to problems with a product that is still in

development. Finally, meeting minutes about government investigations are not relevant to this

case for the same reasons Smartmatic articulated above. Smartmatic welcomes the Court’s

intervention on this issue.

Issue Six: Vendors and Other Manufacturers (RFP 79)

Herring’s Position

        Herring seeks documents and communications related to any of Plaintiffs’ vendors,

contractors, or affiliates based outside of the United States that manufacture, produce, or license

Smartmatic entity voting equipment or software, or any components used in same. The purpose

of this request is to identify non-parties that may have discoverable information that could support


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Herring’s defense that Plaintiffs suffered from security vulnerabilities, technical flaws, or other

failures that resulted in their alleged damages. To address Plaintiffs’ objections of burden and

disproportionality, Herring offered to narrow its Request to vendors, contractors, or affiliates

involved in any election with any Smartmatic entity since 2004 in which a governmental entity

questioned the security or accuracy of any Smartmatic entity technology or has raised concerns

about vulnerability to hacking. Plaintiffs refused. Plaintiffs’ own Complaint suggest that they

have never experienced single security breach. (Compl. ¶ 41.) Such assertions, if unchallenged,

may materially affect Plaintiffs’ potential recovery.

        Plaintiffs continue to obstruct Herring’s ability to obtain documents related to Plaintiffs’

business practices abroad.      As stated above, given Plaintiffs’ reliance on an international,

enterprise valuation damages theory, Herring should be given the information it needs to defend

itself. Whether Smartmatic entity voting technology has been criticized, questioned, or accused

of security vulnerabilities or hacking is central to the claims and defenses at issue in this litigation.

Smartmatic’s Response

        This is yet another example of OANN improperly attempting to expand discovery to

include documents related to irrelevant concepts such as “security vulnerabilities” and “technical

flaws” in Smartmatic’s products. In this case, OANN’s requests are particularly irrelevant and

harassing because it seeks documents related to, for example, any vendor or contractor who

provides components used in Smartmatic’s technology. This would even include documents

related to the manufacturer of the screws that Smartmatic uses in its products. Smartmatic has

repeatedly asked OANN to narrow these requests further, but OANN has refused. To the extent

vendor, contractor, or affiliate documents are responsive to other agreed upon requests for

production, they will be produced.




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       OANN also refuses to limit its request to documents regarding the three plaintiff

Smartmatic entities. Instead, it demands information related to every Smartmatic-affiliated entity

ever to exist. As OANN is well aware, Smartmatic has engaged hundreds of vendors for hundreds

of elections over the course of nearly two decades, all of which have varying degrees of

involvement in those elections. OANN’s demand currently encompasses communications with

vendors of items such as plastic and screws used to build hardware. In other words, most of

Smartmatic’s vendors, contractors, or affiliates would not have participated in an election project

with Smartmatic to an extent that is meaningful to this dispute. Documents and communications

from all vendors, contractors, or affiliates would be incredibly broad, and it would be burdensome

for Smartmatic to produce such a large number of documents.

       To be clear, Smartmatic has never refused to produce relevant documents regarding its

vendors and contractors. It has simply asked OANN to narrow its request such that Smartmatic

can conduct a reasonable search and produce documents actually relevant to this lawsuit.

Smartmatic welcomes the Court’s intervention here.

Issue Seven: Documents Received in Response to Subpoenas

Herring’s Position

       RFP No. 70 seeks all documents received by Plaintiffs “from any third party, whether in

response to a subpoena duces tecum, open records act request or otherwise, that relate to the

Alleged Defamatory Statements or to the allegations in the Complaint.” Although Plaintiffs agreed

from the outset to produce documents they have received in response to subpoenas or open records

requests in this litigation, Plaintiffs have continued to drag their feet in doing so. It was not until

Herring raised the issue, in formal correspondence, to Plaintiffs of their failure to produce

documents received in response to the subpoena issued to Tom Fitton that Plaintiffs actually

produced the documents. And while Plaintiffs produced Fitton’s production one day after the


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Court requested this joint submission, Fitton’s transmittal letter suggests that Plaintiffs may have

had the documents since February 27, which was over two months ago. Plaintiffs also have not

involved Herring in any discussions with any third parties, and have produced no correspondence

with these third parties. Plaintiffs should be ordered to produce to Herring all third-party

subpoena-related documents and correspondence upon receipt, as Herring has already agreed to

do, and involve Herring contemporaneously in the negotiations regarding third-party document

production and deposition dates.

Smartmatic’s Response

       OANN has manufactured a dispute where one does not exist. Smartmatic received

documents in response to one subpoena and has already produced those documents to OANN. It

also told OANN that it will do the same for all future productions received in response subpoenas,

and that it will include OANN in the scheduling of third-party depositions. There is no conflict

for the Court to resolve here.

       OANN’s claims regarding the Tom Fitton production are frivolous. Smartmatic received

the referenced documents from Mr. Fitton on April 12. On April 14, OANN asked Smartmatic if

any documents had been produced in response to subpoenas. Smartmatic informed OANN that it

received documents from Tom Fitton and would include them in Smartmatic’s next production on

May 5. Smartmatic produced the documents on May 1, well in advance of the date it promised to

produce them. OANN’s contention that Smartmatic received documents from Mr. Fitton on

February 27 and was “dragging its feet” in producing them is therefore baseless.

       OANN also demanded that the parties produce documents received in response to

subpoenas immediately upon receipt. Smartmatic already agreed to do so. There is no dispute for

the Court to consider regarding the timing of future productions of third-party documents.




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       Finally, OANN contends for the first time that Smartmatic has not involved OANN in any

discussions with any third parties. Smartmatic has no obligation to include OANN in any such

discussions. In fact, OANN’s RFP No. 70 seeks only documents received in response to a

subpoena or open records act request, and OANN has not requested that it be involved in the

negotiation of document production with non-parties. Finally, Smartmatic has already stated that

it would involve OANN in the selection of deposition dates for third-party witnesses. There is

nothing for the Court to address here.


Dated: May 5, 2023

Respectfully submitted,

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